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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA   :
                           :                         Case No. 1:21-cr-721 (CKK)
    v.                     :
                           :
HOWARD CHARLES RICHARDSON, :
                           :
        Defendant.         :

        NOTICE OF NON-OPPOSITION TO PRESS COALTION APPLICATION


       Pursuant to Standing Order No. 21-28 (BAH) and Local Criminal Rule 49(e)(1), the

government hereby gives notice that it has no objection to the public release of the video exhibits

previously provided to the Court and as listed in the Government’s Sentencing Memorandum (ECF

No. 35). In response to the Press Coalition’s Application for Access to Video Exhibits (ECF No.

41), the government has no opposition. Upon order of the Court granting its application, the

government will make the video exhibits available using the “drop box” solution set forth in

Standing Order 21-28.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:    /s/ Emily W. Allen
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                                CERTIFICATE OF SERVICE


       I hereby certify that I caused true and correct copies of the foregoing to be served on

counsel of record for the defendant via the Court’s Electronic Filing System, and to be served via

electronic mail on the following:

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Dated: September 21, 2022
                                               Respectfully submitted,

                                     By:       /s/ Emily W. Allen
                                               EMILY W. ALLEN
                                               Assistant United States Attorney
